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 8
                          UNITED STATES DISTRICT COURT
 9
                        CENTRAL DISTRICT OF CALIFORNIA
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12
     KEITH LEE GUICE,                       ) Case No.: 2:20-cv-06423-E
13                                          )
                                            ) /PROPOSED/ ORDER OF
14                Plaintiff,                ) DISMISSAL
                                            )
15         vs.                              )
                                            )
16                                          )
     ANDREW SAUL,
                                            )
17   Commissioner of Social Security,       )
                                            )
18                                          )
                  Defendant.                )
19                                          )
20
21         The above captioned matter is dismissed with prejudice, each party to bear
22   its own fees, costs, and expenses.
23         IT IS SO ORDERED.
24   DATE: 
                                    6 &+$5/(6 ) (,&.
                               ___________________________________
25                             THE HONORABLE CHARLES F. EICK
                               UNITED STATES MAGISTRATE JUDGE
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